
USCA1 Opinion

	




                            UNITED STATES COURT OF APPEALS                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                FOR THE FIRST CIRCUIT                                 ____________________        No. 93-1150                          ANGEL L. ALVAREZ-SANCHEZ, ET AL.,                               Plaintiffs, Appellants,                                          v.                      JOSE E. APONTE DE LA TORRE, ETC., ET AL.,                                Defendants, Appellees.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF PUERTO RICO                    [Hon. Jose Antonio Fuste, U.S. District Judge]                                              ___________________                                 ____________________                                        Before                                 Selya, Circuit Judge,                                        _____________                      Aldrich and Coffin, Senior Circuit Judges.                                          _____________________                                 ____________________            Armando Cardona-Estelritz  with  whom Isidro  Garcia Pesquera  Law            _________________________             ____________________________        Offices was on brief for appellants.        _______            Jacqueline  D. Novas-Debien  with whom  Carlos Lugo  Fiol,  Acting            ___________________________             _________________        Solicitor General,  Reina Colon De Rodriguez,  Acting Deputy Solicitor                            ________________________        General, Pedro Juan Perez Nieves  and Saldana, Rey &amp; Alvarado  were on                 _______________________      _______________________        brief for appellees.                                 ____________________                                  September 29, 1993                                 ____________________                      ALDRICH,  Senior  Circuit Judge.    This  42 U.S.C.                                _____________________              1983 action  was  commenced  on  June  27,  1991,  and  was            dismissed as out of time.  We affirm.                      Defendant,   mayor   of   Carolina,  Puerto   Rico,            determined  that a  large number  of municipal  employees had            been hired  as career employees  by procedures  that did  not            comply  with the Puerto Rico  Personnel statute.   On May 23,            1989  he wrote  each  one a  basically  form letter  to  that            effect, but  stating that recipient employee  could request a            hearing in 15 days to seek to show error  in the records.  If            a  hearing  was   not  requested,  or  if  the   hearing  was            unsuccessful, the employee would  be discharged, but would be            given  provisional employment  during which  he or  she could            appeal,  or apply  for new  employment.   The present  twelve            plaintiffs   obtained   hearings,   but  were   unsuccessful.            Thereafter, during the summer of 1989, each received a letter            from  defendant mayor notifying him  or her of  that fact and            stating that severance "shall be effective" one week from the            date of the letter.  They were told they could  apply for new            employment,  but  none did.    Plaintiffs  were continued  as            provisionals  until July  23, 1990,  at which  time all  were            totally  terminated.   They  sue  for  their loss  of  career            employment.                      On  defendants'  motion  for summary  judgment  the            court  held that  the May  23, 1989  letters  were sufficient                                         -2-            notification of discharge  to start the  one year statute  of            limitations, rejecting  plaintiffs' claim of July,  1990.  We            concur  in   the  judgment,   but  do  so   without  reaching            plaintiffs'  contention that  the May letters  were ambiguous            and  not to  be read  as definite.   Even  were that  so, the            letters  sent in the summer of  1989 were unmistakably clear,            and were nearly two years before suit.                      Plaintiffs' sole  answer is that the  court did not            rely  on   the  1989  summer  letters.    This  neglects  the            elementary principle that if  a court's result is  correct it            must  be affirmed even though the court gave a wrong reason.1            Brown v. Allen, 344 U.S. 443, 459 (1953).  Persisting in this            _____    _____            error, plaintiffs refused to  include the summer letters, and            the  pretrial order  that  admitted their  receipt, in  their            appendix,  even though  the  court ordered  them  to do  so.2            Instead,  in their  brief, plaintiffs  brazenly refer  to the            July  23, 1990 letters as "a second series of letters" rather            than as the third.                                            ____________________            1.  We doubt that the court erred as  to the very lengthy May            letters, but need not pursue analysis.            2.  Defendants, as well as having to supplement the appendix,            have  had  to bring  four  motions.   Plaintiffs  continually            failed  to  file  their  brief, and  failed  to  make  proper            service,  or  to  comply  with  an  order  to  explain  their            insufficient  appendix.     The  court  referred  defendants'            request  for sanctions to  the sitting panel,  and so advised            plaintiffs.                                         -3-                      This appeal is worse than  frivolous, and counsel's            conduct calls for sanctions against him  personally, pursuant            to Fed. R. App. P. 38,  as damages and for vexatious conduct,            in the amount of $2,500, payable to defendants, and not to be            waived.                      Affirmed, with double costs.                      ___________________________                                         -4-

